           Case 2:09-cr-00346-JCJ Document 52 Filed 02/02/18 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                    :     CRIMINAL ACTION
                                            :
      v.                                    :
                                            :     NO. 9-346-1
PETER EDWARD ALESZCZYK
                       ORDER REVOKING SUPERVISED RELEASE

              AND NOW, this    31ST      day of JANUARY, 2018, after hearing
in open court sur violation of supervised release, with defendant and
counsel being present, and the Court finding defendant in violation of
supervised release, it is
              ORDERED AND ADJUDGED that the order of supervised release
entered in the above case is revoked.           PETER EDWARD ALESZCZYK having
been found in violation of his supervised release shall be committed to
the custody of the Bureau of Prisons for a period of 24 Months to be
served consecutive to his state sentence.
              IT IS FURTHER ORDERED that upon completion of his confinement
he shall serve a term of ONE (1) YEAR supervised release.            All other
previously imposed conditions of supervised release shall remain in full
effect.


                                            BY THE COURT:


                                            S/J. CURTIS JOYNER
                                            J. CURTIS JOYNER J.
cc:   U.S. Marshal (2)
      Probation Office (1)
      Counsel
1/31/18               SS
Date                By Whom
